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IN THE UNITED STATES DISTRICT COURT ' '

FOR THE WESTERN DISTRJCT oF TENNESSEE 05 AUG 22 PH -
WESTERN DIVISION 2' 35

 

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ULERK, U.§. :'.`l"§TFliCT
IOLA FORD on behalf of deceased husband, W'@ 0" l .':'¢I'YWHIS
HAYWARD FORD and IOLA FORD

v. CAUSE NO. 05-2320 Ma V
.TURY DEMANDED

EVANS DELIVERY A/K/A JOHN DOE I
JOHN DOE II, DRIVER OF THE VEHICLE

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held August 25, 2005. Present
Were Wanda Abioto, counsel for Plaintiff, and Scott McCullough, counsel for Defendant, Evans
Delivery. At the conference, the following dates Were established as the final dates for:
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): September 8, 2005.
JOINING PART[ES: October 25, 2005.
AMENDING PLEADINGS: December 26, 2005 .
INITIAL MOTIONS TO DISMISS: January 25, 2006.
COMPLETING ALL DISCOVERY: May 25, 2006.

(a) DOCUMENT PRODUCTION: May 25, 2006.

(b) DEPOSITIONS, lNTERROGATOR[ES AND REQUESTS FOR ADMISSIONS:

May 25, 2006.

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

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wsm sale 55 ana/or 32;:;>) msch on ' g

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(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT INFORMATION:
March 27, 2006.
(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: April 25, 2006.
(3) EXPERT WITNESS DEPOSITIONS: May 25, 2006.
FILING DISPOSITIVE MOTIONS: June 26, 2006.
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date,

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended fro good cause shown, or the objection to the default,
response, answer, or objection shall be Waived.

This case is set for jury trial, and the trial is expected to last four (4) days. The pretrial
order date, pretrial conference date, and trial date Will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except

motions pursuant to Fed.R.Civ.P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in this matter. Neither party

may file an additional reply, however, without leave of the court. If a party believes that a reply

is necessary, it shall tile a motion for leave to file a reply accompanied by a memorandum setting

forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate j udge.

This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

IT IS SO ORDERED.

APPROVED :

 

RICHARD GLASSMAN (#7815)
SCOTT McCULLOUGI-I (#19499)
Attorney for Defendant

26 North Second Street

Memphis, TN 38103

(901) 527-4673

Our File No. 05-264GJ

 

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DIANE K. VESCOVO
UN"[TED STATES MAGISTRATE JUDGE

DATE: L.¢;ud‘ 223 '7"°5'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02320 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

